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    Attorneys for Defendant New York
  9 Marine and General Insurance Company
 10                       UNITED STATES DISTRICT COURT
 11          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 Travelers Commercial Insurance            Case No. 2:21-cv-5832-GW (PDx)
    Company, a Connecticut Corporation,
 14                                           REQUEST FOR JUDICIAL
                 Plaintiff,                   NOTICE IN SUPPORT OF
 15                                           DEFENDANT NEW YORK
          v.                                  MARINE AND GENERAL
 16                                           INSURANCE COMPANY’S
    New York Marine and General               MOTION TO DISMISS
 17 Insurance Company, a New York             COMPLAINT
    Corporation,
 18                                           Filed Concurrently with Notice of
                 Defendant.                   Motion and Motion to Dismiss
 19                                           Complaint; Memorandum of Points &
                                              Authorities; Declaration of James P.
 20                                           Wagoner; [Proposed] Order
 21                                           Date:          September 16, 2021
                                              Time:          8:30 a.m.
 22                                           Judge:         Hon. George H. Wu
                                              Crtrm.:        9D
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT NEW YORK MARINE AND GENERAL
                      INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
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  1        TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
  2        Pursuant to Rule 201(b) of the Federal Rules of Evidence, Defendant New York
  3 Marine and General Insurance Company ("New York Marine") hereby requests that
  4 the Court take judicial notice of the following documents and events that are not
  5 subject to reasonable dispute and can be accurately and readily determined from
  6 sources whose accuracy cannot reasonably be questioned. Further, under Rule
  7 201(c)(2), the Court “(2) must take judicial notice if a party requests it and the court
  8 is supplied with the necessary information.”
  9        True and correct copies of the following records relevant to the dispute between
 10 the parties are included as exhibits to the Declaration of James P. Wagoner which, as
 11 set forth therein, were obtained from the records of the parties in connection with the
 12 underlying insurance claim out of which the present litigation arises, as set forth in
 13 that declaration:
 14        1.     The Complaint from the Underlying Action referenced in Paragraph 7 of
 15 Travelers’ Complaint (Dkt. 1, p. 3) which was filed in Fairfax County Circuit Court
 16 in Virginia and has been redacted to protect the identity of the insured is filed
 17 concurrently herewith as Exhibit C to the Declaration of James P. Wagoner.
 18        2.     The Virginia State Bar’s Standing Committee on the Unauthorized
 19 Practice of Law Legal Ethics Opinion 598 approved by the Supreme Court of Virginia
 20 on March 8, 1985, effective June 1, 1985 filed concurrently herewith as Exhibit D to
 21 the Declaration of James P. Wagoner.
 22        3.     The Virginia State Bar’s Standing Committee on the Unauthorized
 23 Practice of Law Legal Ethics Opinion 1536 issued June 22, 1993 filed concurrently
 24 herewith as Exhibit E to the Declaration of James P. Wagoner.
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT NEW YORK MARINE AND GENERAL
                      INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
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  1               4.   None of the attorneys with the firm of Cameron McEvoy PLLC are
  2 licensed to practice law in California, as reflected on the firm’s website at
  3 cameronmcevoy.com, last accessed on August 17, 2021, filed concurrently herewith
  4 as Exhibit F to the Declaration of James P. Wagoner.
  5 Dated: August 17, 2021                   McCORMICK, BARSTOW, SHEPPARD,
                                                 WAYTE & CARRUTH LLP
  6
  7
                                           By:            /s/ James P. Wagoner
  8
                                                         James P. Wagoner
  9                                                        Lejf E. Knutson
                                                      Nicholas H. Rasmussen
 10
                                                       Graham A Van Leuven
 11                                        Attorneys for Defendant New York Marine and
                                                    General Insurance Company
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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT NEW YORK MARINE AND GENERAL
                       INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
Case 2:21-cv-05832-GW-PD Document 11-2 Filed 08/17/21 Page 4 of 4 Page ID #:73




  1                                 PROOF OF SERVICE
  2   Travelers Commercial Insurance Company v. New York Marine and General
                                Insurance Company
  3                      Case No. 2:21-cv-5832-GW (PDx)
  4 STATE OF CALIFORNIA, COUNTY OF FRESNO
  5       At the time of service, I was over 18 years of age and not a party to this action.
    I am employed in the County of Fresno, State of California. My business address is
  6 7647 North Fresno Street, Fresno, CA 93720.
  7        On August 17, 2021, I served true copies of the following document(s)
    described as REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
  8 DEFENDANT NEW YORK MARINE AND GENERAL INSURANCE
    COMPANY’S MOTION TO DISMISS COMPLAINT on the interested parties in
  9 this action as follows:
 10 Mark D. Peterson
    Kathleen O. Peterson
 11 Amy Howse
    Cates Peterson LLP
 12 4100 Newport Place, Suite 230
    Newport Beach, CA 92660
 13 Telephone: (949) 724-1180
    Email: markpeterson@catespeterson.com
 14 kpeterson@catespeterson.com
    ahowse@catespeterson.com
 15
    Attorneys    for   Plaintiff  Travelers
 16 Commercial Insurance Company
 17
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
 18 the document(s) with the Clerk of the Court by using the CM/ECF system.
    Participants in the case who are registered CM/ECF users will be served by the
 19 CM/ECF system. Participants in the case who are not registered CM/ECF users will
    be served by mail or by other means permitted by the court rules.
 20
           I declare under penalty of perjury under the laws of the United States of
 21 America that the foregoing is true and correct and that I am employed in the office of
    a member of the bar of this Court at whose direction the service was made.
 22
           Executed on August 17, 2021, at Fresno, California.
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 24
                                                /s/ Marisela Taylor
 25                                             Marisela Taylor
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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT NEW YORK MARINE AND GENERAL
                      INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
